Case 01-01139-AMC   Doc 18726-11   Filed 05/15/08   Page 1 of 26




                    EXHIBIT C
                    March Fee Application
                         Case 01-01139-AMC                         Doc 18726-11                   Filed 05/15/08                Page 2 of 26




                                     IN TH UNTED STATES BANKUPTCY COURT
                                                      FOR TH DISTRCT OF DELA WAR

In re:                                                                       ) Chapter 11
                                                                             )
W. R. GRACE & CO., et al.,!                                                  ) Case No. 01-1139 (JK)
                                                                             )
Debtors.                                                                     ) (Jointly Administered)

                                                                                    Objection Deadline: May Z9, ZOOS at 4;00 p.m.
                                                                                    Hearing Date; TBD only If necessary


      SUMY OF THE SEVENTY-EIGHTH MONTHLY APPLICATION OF
     CASNER & EDWARS, LLP FOR COMPENSATION FOR SERVICES AN
REIMUREMENT OF EXPENSES AS SPECIA LITIGATION COUNSEL TO DEBTORS
      FOR TH PERIOD FROM MACH 1, 2008 THROUGH MARCH 31, 2008

Name of Applicant:                                                                                Casner & Edwards, LLP

Authonzed to Provide Professional Servces to:                                                     W. R. Grce & Co., et al., Debtors and
                                                                                                  Debtors-in-Possession

Date of Retention:                                                                                September 18,2001,
                                                                                                  effective as of      September 18, 2001


Period for which compensation and                                                                 March 1, 2008 though
reimbursement is sought:                                                                          March 31, 2008




                  I The Debtors consist of   the following 62 entities: W. R. Grace & Co. (fla Grce Specialty Chemicas, Inc.), W. R. Gre & Co.-Conn..
 A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Lad Corporation, Amicon, Inc., CB Biomedica~ Inc. (f!a Circe Biomedical, lnc.), CCHP,
 Inc., Coalgrace, Inc., Coalgrae n, Inc., Creative Food ~N Fun Company, Darx Puero Rico, Inc., Del Taco Resurnts, Inc., Dewey and Almy, LLC
 (f!a Dewe and Almy Company), Ecarg, Inc., Five Alewie Boston Lt., G C Limited Parers 1, Inc. (fla Gr Coco Limite Parers 1, Inc.), G C
 Management, Inc. (fla Grce Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomavile Corp., Glouceter New
                                                                                                        Cuba, Grace Culinar Syst,   Inc., Gr Drilling
 Communities Company, Inc., Grace A-B Inc., Grce A-B n Inc., Gr Chemical Company of

 Company, Gre Ener Cororaon, Grace Environmenta, Inc., Gr Europe, Inc., Grce H-G Inc., Grce H-G II Inc., Grce Hote Service .
 Corporation, Grce Inteational Holdings, Inc. (fla Deaorn Internatnal Holdings, Inc.), Grce Ofhore Company, Grce PAR Corporation, Grce
 Petrleum Libya Incorporated, Grace Taron Investors, Inc., Grce Ventures Corp., Grce Washingtn, Inc., W. R. Grce Caital Corporation, W. R.
 Grce Land Corporation, Gral, Inc., Grcoal n, Inc., Guanica-Carbe Lad Development Corporation, Hanover Squar Corporation, Homco
                     Inc., Kootiai Development Company, L B Realty, Inc.. Litigation Managemet,
                                                                                                         Inc. (f!a GHSC Holding, Inc., Grce JV, Inc.,
 International.

 Asbestos Management, Inc.), Monolith Enterprises,
                                                           Incorporated Monroe Stret, Inc., MR Holdings Corp. (f!a Nestor-BNA Holdings Cororation),
 MRA Intennedco, Inc. (f!a Nestor-BNA, Inc.), MR Staffng Systms, Inc. (fla Briish Nursing Association, Inc.), Remedium Group, Inc. (fla
 Envinmental Liabilty Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberlass, Inc., Water Street
 Cororation, Axial Basin Rach Company, CC Parers (f!a Cross Countr Staffng), Hayden-Glch West Coal Company, H-G Coal Company.                           l
                                                                                                                                                        r.
             Case 01-01139-AMC            Doc 18726-11    Filed 05/15/08    Page 3 of 26




Amount of Compensation sought as actu,
reasonable, and necessar:                                 $15,714.00 (80% = $12,571.20)

Amount of Expense Reimbursement sought as
actual, reasonable, and necessar:                         $14,514.06

Ths is an:    X monthy           interi      _ fial application


Prior Applications filed: Yes.
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                                         $43,910.00      $2,33 1.21      No objections served      No objecions served      I;
1113/03     11101/02 though 11/30/02
                                                                         on counsel                on counsel


                                                                                                                            ~
                                         $39,703.00     $26,001.22       No objections served      No objectons served
2/1 1/03    12/01/02 though 12/31/02                                                                                        i
                                                                         on counsel                on counsel               !




                                         $36,572.00     $13,818.89       No objections served      No objections served
3/31103     01/01/03 through 0113 1/03
                                                                         on counsel                on counsel



                                         $37,363.00      $1,050.11       No objections served      No objections served.
511/03      02/01/03 though 02/28/03
                                                                         on counsel                on counsel



                                         $35,519.00     $16,988.05       No objections served      No objections served
511/03      03/01/03 though 03/31/03
                                                                         on counel                 on counsel



                                         $30,037.50     $14,427.54.      No objections served      No objections served
7/11/03     04/01/03 through 04/30/03
                                                                         on counsel                on counsel



                                         $11,420.00     $12,560.93       No objections served      No objections served
8/1/03      05/01/03 thugh 05131/03
                                                                         on counsel                on counsel



                                          $9,586.00     $13,07304        No objections served      No objectons served
8/13/03     06/01/03 though 06/30/03
                                                                         on counsel                on counsel



                                           $8,858.00    $12,888.56       No objections served      No objections served
9/29/03     07/01/03 through 07/31/03
                                                                         on counsel                 on counsel



                                         $10,256.50     $13,076.13        No objections served      No objections served
 11/6/03    08/01/03 thugh 08/31/03
                                                                          on counsel                on counsel



                                          $14,009.00    $13,261.68        No objections served      No objections served
 1111/03    09/01/03 through 09/30/03
                                                                                                    on counsel
                                                                          on counsel                                             ;.



                                          $19,884.00     $13,458.15       No objectons served       No objections served
 12112/03    10/01/03 through 10/31/03
                                                                          on counsel                on counsel



                                                         $13,196.18       No objections served      No objections served
 1/23/04     11/01/03 though 11/30/03     $12,019.00
                                                                          on counsel                on counsel



                                           $5,318.00          $500.03     No objections served      No objectons served          i
 2/11/04     12/01/03 through 12/31/03
                                                                          on counsel                on counsel

                                                                                                                                 ~

                                          $14,274.50     $25,666.53       No objecons served        No objections served         !
 3/16/04     01101/04 though 01/31/04
                                                                          on counsel                on counsel



                                           $9,658.50     $13,088.71       No objections served      No objecons served
 4/13/04     02101/04 through 02/29/04
                                                                          on counsel                on counsel



                                          $16,421.00        $13,349.16    No objections served      No objections served
  5/12/04    03/01/04 though 03/31/04
                                                                          on counsel                 on counsel                   r
                                                                                                                                     I:


                                          $15,745.00        $12,624.56     No objections served      No objections served            r-
  6/14/04    04/01/04 though 04/30/04                                                                                                t
                                                                           on counsel                on counsel
                                                                                                                                     I'


                                            $6,487.00       $26,540.10     No objections served      No objections served
  7/13/04    05/01104 through 05/31/04
                                                                                                     on counsel
                                                                           on counsel




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8/17/04     06101/04 thugh 06130/04       $11,018.50        $9,909.39      No objecons served        No objectons served
                                                                           on counsel                on counsel              ri
                                                                                                                             r
                                                                                                                             I;
                                                                                                                             Ii
9/13/04     07/01/04 thugh 07/31/04       $13,651.00    $12,386.12         No objections sered       No objectons served     i,
                                                                                                                             I',
                                                                                                     on counsel              r
                                                                           on counsel                                        "



1O/l/04     08/01/04 though 08/31/04      $38,791.00    $14,000.00         No objections served      No objections served
                                                                           on counsel                on counel

1115/04     09/01/04 though 09130/04      $14,142.00    $15,951.89         No objections served      No objections served
                                                                           on counsel                on counsl

12115/04    10/01/04 though 10131/04       $4,177.00    $25,1 18.55        No objections served      No objections served
                                                                           on counsel                on counsel



1/6/05      1 1/01/04   though 11/30/04   $31,459.00        $2,839.36      No objections served      No objections served
                                                                           on counsel                on counsel



1/27/05     12/01/04 through 12/31/04     $29,299.00    $17,177.91         No objections served      No objections served
                                                                           on counsel                on counsel



3/25/05     1/01/05 thugh 1131/05         $14,713.00    $14,317.79         No objections served      No objections served
                                                                           on counsel                on counsel



5/10/05     2/01/05 though 2/28/05        $20,275.00    $13,251.6          No objections served      No objections served
                                                                           on counsel                on counsel



5/16/05     03/01/05 though 03/31/05      $11,160.00    $11,684.66         No objections served      No objections served
                                                                           on counsel                on counsel

7/705       04/01/05 through 04/30/05     $27,127.00    $15,371.64         No objections served      No objections served
                                                                           on counel                 on counsel

                                          $16,428.00    $15,260.16         No objections served      No objections served
7/20/05     05/01/05 though 05/31/05
                                                                           on counsel                on counsel
                                                                                                                                 f"

                                          $18,474.00    $12,190.01         No objections served      No objections served
8/2/05      06/01105 though 06/30/05
                                                                           on counsel                on counsel

                                          $21,231.00    $13,876.31         No objections served      No objections served
9/9/05      07/01/05 though 07/31/05
                                                                           on counsel                on counsel



9/30/05     OS/01/05 though 08/31/05      $17,306.50    $12,85I.S7         No objections served      No objections served
                                                                            on counsl                 on counsel



 1114/05    09/01/05 though 09/30/05      $19,252.50     $13,258.24         No objections served      No objections served
                                                                            on counsel                on counsel



 12/15/05    1 % 1/05 though 1 Q/31/05     $24,069.00       $15,964.63      No objecions served       No objections served
                                                                            on counsel                on counsel


                                           $3S,02750        $15,003.91      No objections served      No objections served
 1/31/06     11/01/05 through ll30/05
                                                                            on counsel                on counsel



 21 14/06    12/01/05 through 12/31105     $87,77750        $13,260.33      No objections served      No objections served
                                                                            on counsel                on counsel




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                                          $30,680.00    $17,353.33       No objections served     No objections served
3(31/06     01/01/06 through 01/31/06
                                                                         on counsel               on counsel
                                                                                                                           ~.
                                                                                                                           i.
                                                                                                                           F
                                          $32,949.50    $22,535.61       No objections served     No objections served     i..
5/1/06      02/01/06 though 02/28/06
                                                                         on counsel               on counsel

                                          $60,885.50    $15,296.96       No objections served      No objections served
5/23/06     03/01/06 through 03/31/06
                                                                         on counsel                on counsel

                                          $23,816.00    $15,047.10       No objections served      No objections served
6/8/06      04/01/06 thoùgh 04/30/06
                                                                         on counsel                on counsel


                                          $27,090.50    $15,330.01       No objections served      No objectons served
7/18//06    OSlO 1106 though 05131/06
                                                                         on counsel                on counel

                                          $33,544.50    $11,977.34       No objections served      No objectons served
8/14/06     06/01/06 though 06/30/06
                                                                         on counsel                on counsel



                                          $16,289.50    $15,153.31       No objections served      No objections served
9/12/06     07/01106 through 07/31106
                                                                         on counsel                on counsel



                                          $34,312.00    $14,214.01       No objectons served       No objections sered
10/18/06    08/01106 though 08/31/06
                                                                                                   on counsel
                                                                         on counsel

                                          $35,495.50    $13,202.34       No objectons served       No objections served
1 1/21/06   09101/06 though 09/30/06
                                                                         on counsel                on counsel


                                          $33,865.00    $22,086.20        No objections served     No objections served
 12/15/06    1 % 1/06 though 10/31/06
                                                                          on counsel               on counsel



                                           $33,796.00    $15,221.9        No objections served     No objections served
 1/16/07     1101/06 through 1130/06
                                                                          on counsel                on counsel



                                           $19,813.00    $14,435.75       No objections served      No objections served        .
 3/1107      12/01106 through 12/3 1/06
                                                                          on counsel                on counsel                   i~.
                                                                                                                                 i
                                                                                                                                 H.
                                                                                                                                 r.
                                                         $12,083.70       No objections served      No objections served         r..
 3/23/07     01/01/07 thugh 01/31107       $19,909.50                                                                            ¡:
                                                                          on counsel                on counsel                   ::
                                                                                                                                 i.
                                                                                                                                 "
                                                                                                                                 I,

                                           $24,635.00    Sll,730.70       No objectons served       No objections served
 4/10/07     02/01/07 through 02/28/07                                                                                           1;
                                                                          on counsel                on counsel                   L



                                           $20,829.50    $12,765.08       No objectons served       No objections served         r:
 5114/07     03101/07 through 03(31/07
                                                                          on counsel                on counel

                                            $9,905.00    $17,538.92       No objections served      No objectons served
 6/8/07      04/01107 thugh 04/30/07
                                                                                                    on counsel
                                                                          on counsel


                                            $7,235.00    $12,837.38       No objectons served       No objections served
 7/5/07      05/01107 through 05/31107
                                                                                                    on counsel
                                                                                                                                    r:
                                                                          on counsel
                                                                                                                                    i:
                                                                                                                                    ¡.

                                           $16,160.00       $11,034.32    No objections served      No objections served            r.
 8115/07     06101/07 through 06/30/07
                                                                           on counsel               on counsel                      :.
                                                                                                                                    k


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09/12/07      07/01/07 thugh 07131/07               $15,613.50              $ 1 4,36 1.88      No objections served      No objections served
                                                                                               on counel                  on counsel



10/10/07      08/01/07 though 08/3 1/07             $18,956.00              $12,010.22         No objections served      No objections served
                                                                                               on counsel                 on counsel



10/31/07      09/01/07 though 09/30/07                $6,938.50             $14,182.33         No objections served      No objectons served
                                                                                               on counsel                 on counsel



12/17/07      10/0 1/07 through 10/31/07            $16,557.00              $12,003.26         No objections served       No objections served
                                                                                               on counsel                 on counsel



1/17/08       11/01/07 though 1110/07                $12,850.00             $12,756.91         No objectons served        No objections served
                                                                                               on counsel                 on counsel



2/8/08        12/01/07 through 12/31/07              $12,508.00             $11,948.15         No objections served       No objections served
                                                                                               on counsel                 on counsel



3/19/08       01/01/08 through 01/31/08              $16,372.50             $11,960.75         No objections served       No objections served
                                                                                               on counsel                 on counsel



4/8/08        02/01/08 though 02/29/08               $10,699.00              $12,800.90        No objections served       No objectons served
                                                                                               on counsel                 on counsel



5/8/08        03/01/08 thugh 03131/08                $15,714.00              $14,514.06         Pending                   Pending




As indicated above, ths is the seventy-eighth application for monthy interi compensation of
services filed with the Bankptcy Cour in the Chapter 11 Cases.2
                                                                                                                                                 ,
The total time expended for the preparation of ths application is approximately 1.3 hours, and the                                               i'
                                                                                                                                                 "
                                                                                                                                                 k
corresponding estimated compensation that wil be requested in a futu application is approximately
                                                                                                                                                 fr
$383.50.                                                                                                                                         F
                                                                                                                                                 í
                                                                                                                                                 ~

The Casner attorneys and paraprofessionals who rendered professional services in these cases durng                                               i:
                                                                                                                                                 if
the Fee Period are:




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                                                                                                                                                  ¡;

                                                                                                                                                  r

           2 Any capitalize ter not defned herein have the meaning ascribed to them in the Verified Application of    Casner & Edwards LLP for    I

                                                                                                                                                  ¡,
Compensation for Services and Reimbursement of Expenses as Speial Litigation Counsel to Debtors, for the Fift Monthly Interim Period frm          p
Februar t, 2002 through Februar 28, 2002.


                                                                           6
                                Case 01-01139-AMC                                      Doc 18726-11                          Filed 05/15/08                          Page 8 of 26




                                                                                              Fee Summar
                                                                            (see Exhbit A to the Fee Detail)




   Robert A. Murphy                              Senior Counsel 41                             Litigaon                             $295.00                             4.70                    $1,386.50

   Mattew T. Murhy                              Associate                   20                 Litigaon                             $255.00                             5.50                    $1,402.50




          TOTALS                                                                                                                                                     127.70                    $ 1 5,714.00



                                                                                                                Total Fees:                                      $15,714.00




                                                                                          Expense Sumar

                                                                             (see Exhibit B to the Fee Deta)
I'î':::;;:..':~.,." .                                                                                                                                  :;:; F\' ,.:d:t;1r;"';:;'(E'XiÍ~jísë$: ::":: Y;;;:: )d: .~.; =::.
                        . ,; "':g;::'~?¿t::~:3?:"S,;;;i:: ,/:'2:EXbØris~':êi(telin"~; t:?,:,,/..::,;;.:\,d:".:;~'.~:;:':.:(;f'.tX~\.c. '~;.,:./,;;~d

   Federa Expres                                                                                                                                                                                  $57.07

    Outside Photocopying                                                                                                                                                                     $1,642.02

    Photocopying                                                                                                                                                                                     $2.10

    Rent Reimbursement                                                                                                                                                                     $12,410.27

    Miscellaneous                                                                                                                                                                               $402.60

    TOTAL                                                                                                                                                                                  $14,514.06
                                                                                                                                                                                                                           r.
                                                                                                                                                                                                                           ¡"
                                                                                                                                                                                                                           l
                                                                                                                       Total Expenses:                            $14,514.06


                                                                                                                                                                                                                           I,




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                                                                                                                                                                                                                           ~
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                                     Compensation Sumar By Project Category




Litigaton and Litigaton Consulting
                                                                                    125.90   $15,183.00


Fee Applications, Applicant                                                           1.80     $531.00

Expenses                                                                            N/A      $14,514.06

TOTALS                                                                              127.70   $30,228.06




Dated: May 8, 2008                                 CASNER & EDWARS, LLP



                                                   Robert A. Murhy (B #3 700)                              t.
                                                   303 Congress Street, 2nd Floor
                                                   Boston, MA 02210
                                                   (617) 426-5900

                                                   Special Litigation Counsel




52000.57/436344




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                                                                                                            i"
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                                                                                                          . f:'




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                 Case 01-01139-AMC                         Doc 18726-11                 Filed 05/15/08            Page 10 of 26




                               IN TH UNTED STATES BANUPTCY COURT
                                                  FOR TI DISTRICT OF DELA WAR

Inre:                                                                  ) Chapter 11
                                                                       )
W. R. GRACE & CO., et ~I                                               ) Case No. 01-1139 (JK)
                                                                       )
Debtors.                                                               ) (Jointly Adminstered)

                                                                              Objection Deadline: May 29, 2008 at 4:00 p.m.
                                                                              Hearing Date: TOD only If necessary




                      FEE DETAIL FOR CASNER & EDWARS, LLP'S
                     SEVENTY-EIGHTH MONTHLY FEE APPLICATION
              FOR THE PERIOD FROM MACH 1,2008 THROUGH MARCH 31, 2008
                                                                                                                                                  I;"
                                                                                                                                                  I;

                                                                                                                                                  r




                                                                                                                                                  ~
                                                                                                                                                  l
                                                                                                                                                  j'
                                                                                                                                                  ¡:
           I The Detors consist of   the following 62 entities: W. R. Grace & Co. (fla Grce Specialty Chemicals, Inc.), W. R. Grce & Co.-Conn.,   !

A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Ipc., CB Biomedical, Inc. (fla Circe Biomedical, In.), CCHP,
Inc., Coalgrac, Inc., Coalgie n, Inc., Creative Food ~N Fun Company,'Darex Puero Rico, Inc., Del Taco Restaurats, Inc., Dewey and Ahny, UC
(fla Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limite Parers I, Inc. (f7a Gr Coca Limited Parer I, Inc.), G C
Management, Inc. (fla Grce Cocoa Management, Inc.), GEC Management Corporation, GN Holdings.
                                                                                                       inc., GPC Thomasile Cor., Glouceer New
Communities Company, Inc., Grce A-B Inc., Grce A-B nine., Grce Chemical Company of Cuba, Grace Culinai Systems, Inc., Grce Drllng
Company, Grce Energy Corporation, Grace Environmenta, Inc., Grae Europe, Inc., Grace H-G Inc., Grce H-G II Inc., Grce Hotel Servce
Corporation, Grce International Holdings, Inc. (fla Dearborn International Holdings, Inc.), Grce Ofshore Company, Grce PAR Corporation, Grace
                                                                                                                                                   h'
Petoleu Libya Incorporated Grce Taron Invesors,         inc., Grce VenIU Corp., Gr Washington, Inc., W. R. Grce Capital Coipration, W. R.          ¡:

Grace Lad Corporation Grcoal, Inc., Grcoal n, Inc., Guanica-Carbe Lad Development Corportion, Hanover Squar Corporation, Homco                     ~:

International, InC., Kootenai Development Company, L B Reaty, Inc., Litigation Maagement, Inc. (fla GHSC Holding, Inc., Grce JV Inc.,              ¡!
Asbestos Managemen Inc.), Monolith Enterpries, Incorporate, Monro Strt, Inc., MR Holdings Corp. (fla Nestor-BNA Holdings Corporation),             ¡;
                                                                                                                                                   !
MRA Intermedco, Inc. (f7a Nestor-BNA. Inc.), MR Stag Systems,   inc. (f7a British Nursing Association, Inc.), Remedium Grup, Inc. (f7a             Î:

Environmenta Liabilty Management, Inc., E&C Liquidating Corp., Emeron & Cuming, Inc.), Souther OiL, Resin & Fibrglass, Inc., Water Stret           ~.
                                                                                                                                                   !
Corporaon, Axal Basin Rach Company, CC Parters (£'a Cross Countl Stang), Hayden-Gulch West Coal Company, H-G Coal Company.                         ì:
                                                                                                                                                   i:
                                                                                                                                                   !;

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52000.57/436355
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                     EXHBIT A
                       (Fee Detail)




                                                                       i:
                                                                       I:
                                                                       r
                                                                       i.

                                                                       I:

                                                                       I:
                   Case 01-01139-AMC         Doc 18726-11        Filed 05/15/08        Page 12 of 26


                                        CASNER & EDWARDS, LLP
                                          ATTORNEYS AT LAW
                                         303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                             F.l.N. XX-XXXXXXX


                                                                           April   30, 2008
                                                                           Bil Number 17705
                                                                           File Number 0052000-0000043

Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive'
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting .

LEGAL SERVICES

Through March 31, 2008
                                                                                       Time              Value
       Date Attv    Description                                                                                  \~


03/02/08 RAM        Read selected documents filed in bankruptcy court.             0.50 Hrs            $147.50
03/03/08 MTM        Meeting with in-house counsel at Winthrop Square re:           0.80 Hrs            $204.00   i
                                                                                                                 L
                    Sales Outside U.S, materials.                                                                L

03/03/08 ARA        Quality control documents in the production set                6.50 Hrs            $715.00   ~


                    previously produced to Personal  Injury Creditors
                    Committee.
 03/04/08 ARA       Quality control documents in the production set                 6.50 Hrs           $715.00
                    previously produced to Personal  Injury Creditors
                                                                                                                 ~
                    Committee (6.0). Per telephone call from MTM, have
                    Sales Outside U.S. documents copied by Merrit Corp.for
                    in-house counsel (.5).
                    Read selected documents fied in bankruptcy court. .             0.30 Hrs            $88.50
 03/05/08 RAM
 03/05/08 MTM       Telephone call from in-house counsel re: Sales Outside          0.10 Hrs            $25.50
                    U.S. documents.
                    Quality control documents in the production set                 6.70 Hrs           $737.00
 03/05/08 ARA
                    previously produced to Personal  Injury Creditors
                                                                                                                  ~
                    Committee (6.4). Telephone calls from and to MTM and                                          :~

                    Merril Corp. re: Sales Outside U.S. documents; receipt                                           ,
                                                                                                                     i.
                    of original Sales Outside U.S. boxes from Merril Corp                                            I
                                                                                                                     !
                    (.3).



                                                     Page 1
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Mark A. Shelnitz

Re: Litigation and Litigation Consulting

   Date    ti
03/06/08 RAM
                   Description
                   Telephone call from/to in-house counsel and telephone
                                                                                                         Time
                                                                                                    0.10 Hrs
                                                                                                                            Value
                                                                                                                           $29.50
                   conference with MTM re: ongoing document work re:
                   criminal case.
03/06/08 ARA       Quality control documents in the production set                                  6.50 Hrs              $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/07/08 ARA       Quality control documents in the production set                                  6.50 Hrs              $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/10/08 RAM       Emails fromlto MTM re: providing Sales Outside U.S.                              0.10 Hrs               $29.50
                   documents to in-house counseL.
03/10/08 MTM       Telephone call from in-house counsel re: Sales Outside                           2.40 Hrs              $612.00
                   U.S. documents (.2); telephone call to ARA re: copy all
                   Sales Outside U.S. documents and whether same were
                   produced to Personal  Injury Creditors Committee (.2);                                                           ~: .

                   review my files on prior productions to Personal                       Injury


                   Creditors Committee (.9); locate two supplemental
                   product appendices produced to Personal                     Injury


                   Creditors Committee re: same (.7); email from in-house
                   counsel re: non-U.S. asbestos products (.2); email two
                   supplemental product appendices to in-house counsel
                   (.2)
03/10/08 ARA       Quality control documents in the production set                                  6.70 Hrs              $737.00
                   previously produced to Personal    Injury Creditors
                   Committee (5.0). Per MTM's request, check Personal                                                               ti
                   Injury Creditors Committee production file to see if Sales                                                       I'
                                                                                                                                    F
                   Outside U.S. boxes had been produced (.5); prepare all                                                           V
                                                                                                                                    I;
                   Sales Outside U.S. boxes of documents for copying for                                                            t'

                   in-house counsel (1.2).                                                                                          t,
                                                                                                                                    ,
03/11/08 MTM       Review storage boxes re: letter to in-house counsel re:                           1.90 Hrs             $484.50
                   search for non-U.S. asbestos product information (.6);                                                           ~
                                                                                                                                    ¡
                   review binders at Winthrop Square re: same (1.0);                                                                j
                                                                                                                                    i
                   telephone call and letter to in-house counsel re: same                                                           ì
                                                                                                                                    i

                    (.3).                                                                                                            ~
03/11/08 ARA        Quality control documents in the production set                                  5.90 Hrs             $649.00
                    previously produced to Personal    Injury Creditors
                    Committee (5.5). Telephone calls to and from MTM
                    requesting particular binder (.3). Telephone call from
                    Merril re: update on Sales Outside U.S. copy job (.1).
03/12/08 ARA        Quality control documents in the production set                                  6.70 Hrs             $737.00
                    previously produced to Personal    Injury Creditors
                    Committee (6.2). Telephone call from MB and telephone
                    call to Merril Corp. to determine missing box label
                    information for one box of copies of Sales Outside U.S.
                    documents (.5).
                                                                      Page 2
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Mark A. Shelnit

Re: Litigation and Litigation Consulting

   Date 8n         Descriotion                                                                  Time              Value
03/14/08 ARA       Quality control documents in the production set                         6.00 Hrs             $660.00
                   previously produced to Persona/Injury Creditors
                   Committee.
03/17/08 RAM       Read selected documents filed in bankruptcy court.                      1.00 Hrs             $295.00
03/17/08 ARA       Quality control documents in the production set                         6.50 Hrs             $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/18/08 RAM       Read updated bankruptcy court docket entries to select                  0.30 Hrs              $88.50
                   documents to read.
03/18/08 ARA       Quality control documents in the production set                         5.80 Hrs             $638.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/19/08 RAM       Read selected documents filed in bankruptcy court.                      0.40 Hrs             $118.00
03/19/08 ARA       Quality control documents in the production set                         6.50 Hrs             $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/20/08 RAM       Read updated bankruptcy court docket entries to select                  0.20 Hrs              $59.00
                   documents to read.
03/20108 ARA       Quality control documents in the production set                         5.50 Hrs             $605.00
                   previously produced to Personal  Injury Creditors
                   Committee.
03/24/08 ARA       Quality control documents in the production set                         4.00 Hrs             $440.00
                   previOusly produced to Personal  Injury Creditors
                                                                                                                          ,.
                   Committee.
03/25/08 ARA       Quality control documents in the production set                         6.50 Hrs             $715.00   L
                                                                                                                          ,.
                                                                                                                          h'
                   previously produced to Personal  Injury Creditors                                                      I'
                                                                                                                          J

                   Committee.                                                                                             l-
                                                                                                                          "


03/26/08 ARA       Quality control documents in the production set                          5.70 Hrs            $627.00   t
                   previously produced to Personal        Injury   Creditors                                              f
                   Committee.
03/27/08 ARA       Quality control documents in the production set                          6.00 Hrs            $660.00   ~

                   previously produced to Personal  Injury Creditors                                                      t
                                                                                                                          i
                   Committee.
03/28/08 MTM       Telephone call from in-house counsel re: testimony of                    0.10 Hrs             $25.50   ~

                   Grace expert.                                                                                          I,
                                                                                            6.50 Hrs            $715.00   l
03/28/08 ARA       Quality control documents in the production set                                                        L
                   previously produced to Personal  Injury Creditors                                                      i:
                                                                                                                          ü
                    Committee.                                                                                            I:

03/31/08 MTM        Emails to and from OBM re: search for source of                         0.20 Hrs             $51.00
                    Monokote testing document (.1); email to in-house                                                     1¡.
                                                                                                                          t:
                    counsel re: same (.1).
                                                                                                                          I:




                                                         Page 3
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Mark A. Shelnit

Re: Litigation and Litigation Consulting

   Date Attv       Description                                                    Time               Value
03/31/08 ARA       Quality control documents in the production set             6.50 Hrs            $715.00
                   previously produced to Personal  Injury Creditors
                   Committee.
                                                                TOTAL LEGAL SERVICES           $15,183.00

LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                    2.90 Hrs    295/hr         $855.50
MATTHEW T. MURPHY                                  5.50 Hrs     255/hr        $1,402.50
ANGELA R. ANDERSON                               117.50 Hrs     11 O/hr      $12,925.00
                                                 125.90 Hrs                  $15,183.00

                                                                          TOTAL THIS BILL      $15,183.00




                                                                                                             i:
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                                                    Page 4
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                                       CASNER & EDWARDS, LLP
                                         ATTORNEYS AT LAW
                                        303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                              F.I.N. XX-XXXXXXX


                                                                            April 30, 2008
                                                                           Bil Number 17706
                                                                           File Number 0052000-0000057

Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W. R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Fee Applications, Applicant

LEGAL SERVICES

Through March 31, 2008

  Date    Attv      Description                                                      Time                Value

03/06/08 RAM        Work on January fee application.                             0.80 Hrs            $236.00
03/07/08 RAM        Work on January fee application (.2); send it to in-house    0.30 Hrs             $88.50
                    counsels to review (.1).
03/18/08 RAM        Finalize January fee application (.2); send to Delaware      0.30 Hrs             $88.50
                    counsel to file (.1).
03/25/08 RAM        Work on February fee application.                         0.20 Hrs                $59.00     ;.

03/27/08 RAM        Work on February fee applicttion.                         0.20 Hrs                $59.00
                                                                  TOTAL LEGAL SERVICES               $531.00

LEGAL SERVICES SUMMARY

ROBERT A. MURPHY                                     1.80 Hrs 295/hr             $531.00
                                                     1.80 Hrs                    $531.00                         ¡

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Mark A. Shelnit



                                                            TOTAL THIS BILL           $531.00




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Case 01-01139-AMC   Doc 18726-11     Filed 05/15/08   Page 18 of 26




                      EXHmIT B
                      (Expense Detail)




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                   Case 01-01139-AMC          Doc 18726-11   Filed 05/15/08   Page 19 of 26


                                           CASNER & EDWARDS, LLP
                                             ATTORNEYS AT LAW
                                            303 CONGRESS STREET
                                    BOSTON, MASSACHUSETTS 02210
                                          F.I.N. XX-XXXXXXX


                                                                     April 30, 2008
                                                                     Bil Number 1 nO?
                                                                     File Number 0052000-0000043

Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Litigation and Litigation Consulting


DISBURSEMENTS
Through March 31, 2008


OUTSIDE PHOTOCOPYING
03/24/08 MERRILL COMM - Sales Outside U.S. documents to be
          copied for in-house counsel (3/4/08).
03/24/08 MERRILL COMM - Copy 4 Box set of Sales Outside U.S.
          Docs for in-house counsel (3/10/08).



PHOTOCOPYING
03/20/08 21 copies at .10 per copy


RENT REIMBURSEMENT
03/03/08 Rent and utilties for document repository at One Winthrop
          Square - March 2008.



MISCELLANEOUS




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                                                   Page 1                                          .,j
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Mark A. Shelnitz

Re: Litigation and Litigation Consulting


DISBURSEMENTS
Through March 31, 2008

MISCELLANEOUS
03110/08 RECORDKEEPER ARCHIVE-Storage 3/01108 through                      402.60
          03/31/08.
                                                                                      $402.60
                                                          TOTAL DISBURSEMENTS            $14,456.99

                                                                 TOTAL THIS BILL         $14,456.99




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                                               Page Z
                   Case 01-01139-AMC       Doc 18726-11      Filed 05/15/08        Page 21 of 26


                                     CASNER & EDWARDS, LLP
                                        ATTORNEYS AT LAW
                                      303 CONGRESS STREET
                                  BOSTON, MASSACHUSETTS 02210
                                           F.l.N. XX-XXXXXXX .


                                                                       April   30, 2008
                                                                       Bil Number 17708
                                                                       File Number 0052000-0000057
Mark A. Shelnitz
Vice President, General Counsel and Corporate
Secretary
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044


FOR PROFESSIONAL SERVICES

Re: Fee Applications, Applicant


DISBURSEMENTS
Through March 31, 2008


FEDERAL EXPRESS
03/05/08 To 919 North Market St., Pachulski Stang Ziehl & Jones,                  16.64
           Patricia Cuniff from Casner and Edwards on February 7,
           2008 by RA                                                                                       Ii
                                                                                                            p
03/05/08 To 919 N Market Street, Pachulski Stang Ziehl & Jones,                   23.65                     I:
                                                                                                            I;
          Patricia Cunif from Casner and Edwards on February 12,
                                                                                                            i.
           2008 by RA                                                                                       ,

03/13/08 To 919 N Market St, Pachulski Stang Ziehl & Jones, Patricia              16.78
          C~niff from Casner and Edwards on January 16, 2008 by                                             ~

           RAM.
                                                                                              $57.07
                                                             TOTAL DISBURSEMENTS                   $57.07




                                                 Page 1
                  Case 01-01139-AMC   Doc 18726-11   Filed 05/15/08   Page 22 of 26


Mark A. Shelnit



                                                            TOTAL THIS BILL           $57.07




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              Case 01-01139-AMC                         Doc 18726-11         Filed 05/15/08                 Page 23 of 26




                                  IN TI UND STATES BANUPTCY COURT

                                          FOR TH DISTRCT OF DELAWAR

inre:                                                         )        Chapter i i
                                                              )
W. R. GRACE & CO., et al., 1                                  )        Case No. 01-01139 (JK)
                                                              )        Jointly Administered
                      Debtors.                                )


                                                  AFDAVIT OF SERVICE

                      Lyny Oberholzer, being duly sworn according to law, deposes and says that she

is employed by the law firm of                 Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors

in the above-captioned action, and that on the 9th day of                  May 2008, she caused a copy of            the

followig document to be served upon the atthed servce list in the maner indicated:




1 The Debtors consist of
                                 the fonowig 62 entities: W. R. Grace & Co. (Wa Grace Specialty Chemcas, Inc.), W. R. Grace &   i;
Co.-Conn., A-I Bit & Tool Co., Inc., Alewie Boston Ltd, Alewife Lad Corporation, Amcon, Inc., CB Biomedica, Inc. (f7a           l
Circ Biomedical, Inc.), CCH, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creave Food 'N Fun Company, Darx Puero Rico,
                                                                                                                                ~
Inc., Del Taco Restarats Inc., Dewey and Almy, LLC (f7a Dewey and Almy Company), Ecag, Inc., Five Alewife Boston                I
                                                                                                                                i
Ltd., G C Limited Parers I, Inc. (f7a Grce Cocoa Limited Parers I, Inc.), G C Management, Inc. (Wa Grace Cocoa                  I
                                                                                                                                .
Management, Inc.), GEC Maement Corpraton, GN Holdings, Inc., GPC Thomaile Corp., Glouceter New Communities
Company, Inc., Grace A-B Inc., Grae A-B II Inc., Grace Chemical Company of Cuba, Grce Culinar Systems, Inc., Grce
Driling Copany, Grace Energy Corporation, Grae Environmental, Inc., Grce Europe, Inc., Grace H-G Inc., Grce H-G 11              ~

Inc., Grace Hotel Servces Corporaon, Gre International Holdings, Inc. (flka Deaborn Internatonal Holdings, Inc.), Grce
Offhore Company, Grce PAR Corporaon, Grace Petroleum Libya Incorported Grce Taron Invesors, Inc., Grce Ventues
Corp., Gre Washington, Inc., W. R. Grce Capital Cooration, W. R. Grace Land Corpraon, Grcoal, Inc., Groal II, Inc.,             t
                                                                                                                                "
Guanica-Carbe Lad Development Corpration, Hanover Square Corporation, Homco Inteational, Inc., Kootenai                         ¡.

Development Company, L B Reaty, Inc., Litigation Management, Inc. (Wa GHSC Holding, Inc., Grce Nf Inc., Asbeos                  I,
                                                                                                                                i'
Maement, Inc.), Monolith Enterprises, IncoIJorated, Monroe Street, Inc., MR Holdings COIJ. (flka Nesor-BNA Holdings             I;
Corporaton), MR Intermedco, Inc. (f7a Nestor-BNA, Inc.), MR Stang Systems, Inc. (f7a British Nursing Association,               ¡;

Inc.), Remedium Group, Inc. (f7a Environmenta Liability Management, Inc., E&C Liquidating COIJ., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axal Basin Ranch Company, CC Parer (f7a Cross          l
Countr Stang), Hayden-Gulch West Coal Company, H-G Coal Company.

                                                                                                                                I:
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          Case 01-01139-AMC       Doc 18726-11     Filed 05/15/08       Page 24 of 26

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              Seventy-Eighth Monthly Application of Casner & Edwards, LLP for              ~
                                                                                           ~
              Compensation for Servces and Reimursement of Expenses as Special             '"
                                                                                           r
              Litigation Counsel to Debtors for the Period from March 1, 2008              ii
                                                                                           I;
                                                                                           i:
              through March 31,2008.                                                       i.
                                                                                           i'




                                    .~Mt
                                  L~ Oberholzer



                                                          DEBRA L. YOUNG
                                                          NOTARY PUBLlC
Notar Public                                            STATE OF DELAWARE
My Commission Ex 'res:                               My eommission expires July 18, 2009
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Gre Fee Application Servce List                Federal Express and E-mail:
Case Number: 01-1139 (JK)                      williams/JarksJ!race.com
Document Number: 45804                         (W.R. Grace & Co.)
01 - Hand Delivery                             Mark Shelntz
                                                                                                      rl
02 - Federal Express                           W.R. Grace and Co.                                     !.
10- E-Mail                                     7500 Grace Drive
                                               Columbia, MD 21044

(Counsel tó Debtors and Debtors in             E-mai: nelassman(ibavardfirm.com
Possession)                                    (Lcal Counsel to DIP Lender)
Laura Davis Jones, Esquire                     Neil Glassman, Esquire
James E. O'Neil, Esquire                       The Bayard Firm
Pachulski Stang Ziehl & Jones LLP
919 Nort Market Street, 17th Floor             E-mail: meskin(¡/el.camlev.com
P.O. Box 8705                                  (Local Counel to Asbestos Claiants)
Wilmington, DE 19899-8705                      Marla Eski, Esquie                                     i¡
                                                                                                      I
                                                                                                      i.
                                               Campbell & Levine, LLC                                 i.
                                                                                                      I
                                                                                                      i'
(parcels)                                                                                             I:
Vito I. DiMaio                                 E-mail: ttacconellilerrvioserh.com                     ..

                                                                                                      r
Parcels, Inc.                                  (Counsel for Propert Damage Claiants)                  i
                                                                                                      !
10th & Kig Streets                             Theodore Tacconell, Esquie
P.O. Box 27                                    Ferr & Joseph, P.A.
Wilmington, DE 19899
                                               E-mail: mlastowski(¡/uanemorris.com
Hand Delivery                                  (Counsel to Offcial Commttee of
(United States Trutee)                         Unsecured Creditors)
David Klauder, Esquire                         Michael R. Lastowski, Esquie
Offce of the United States Trutee              Duae, Morrs & Heckscher LLP
844 Kig Street, Room 2311
Wilmington, DE 19801                           E-mail: currier(klettroonev.com                        ~.

                                               (Counsel for Offcial Commttee of              Equity
                                                                                                      r.
Federal Express                                Holders)                                               t
(Fee Auditor)                                  Teresa K.D.Curer, Esquire                              ~.

Waren H. Smith                                 Klett Rooney Lieber & Schorli
Waren H. Smith & Associates
Republic Center                                E-mail: /Jvn/.a/Jdale. com
                                                                                                      !
325 N. St. Paul                                (Official Commttee of              Personal Injur      ¡-

Suite 1275                                     Claiants)                                              i,


Dallas, TX 75201                               Elihu Inelbuch, Esquie                                 ~.


                                               Caplin & Drysdale, Charered



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              Case 01-01139-AMC     Doc 18726-11   Filed 05/15/08   Page 26 of 26




E-mail: isakalo()Jüzucom
(Offcial Commttee of Propert Damage
Claiants)
Scott L. Baena, Esquire
Bi1zin Sumberg Dun Baena Price &
Axelrod LLP

E-mQU: caroLhennessevJw.com
(Counsel to DIP Lender)
David S. Heller, Esquire
Latham & Watk
E-mQU: pbentlev(./amerlevin.com
(Counsel to Offcial Commttee of
                                  Equity
Holders)
Philip Bentley, Esquie
Kramer Levin Naftlis & Franel LLP
                                                                                    t
                                                                                    i,

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